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10   Attorneys for Defendants

11                                UNITED ST ATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
12                                     OAKLAND DIVISION
13
     SHENZHENSHI HAITIECHENG
     SCIENCE AND TECHNOLOGY CO., LTD., a               Case No. 4: l 5-cv-00797 JST (SK)
14
     People's Republic of China corporation,
15                        Plaintiff,
                                                    STIPULATION AND [PROPOSED]
16                  and
                                                    ORDER REGARDING USE OF
17                                                  "MOVA"
     VIRTUE GLOBAL HOLDINGS LIMITED, a
     business company incorporated in the British
18                                                  Judge: Honorable Jon S. Tigar
     Virgin Islands,
                                                    Action Filed: February 20, 2015
19                        Intervenor,
            V.
20

21   REARDEN, LLC, a California Limited Liability
     Company; REARDEN MOY A, LLC, a California
22   Limited Liability Company; MO2, LLC, a
     California Limited Liability Company; and
23   MOVA, LLC, a California Limited Liability
     Company,
24
                          Defendants.
25
            AND RELATED COUNTERCLAIMS.
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      STIPULATION AND                                                 CASE NO. 4: 15-CV-00797-JST (SK)
      [PROPOSED] ORDER
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                                   /s/ Frank Busch
         Case 4:15-cv-00797-JST Document 582 Filed 11/18/20 Page 3 of 3




 2
                                        {PROPOSED] ORDER
 3
           The Court further APPROVES the Parties' stipulation and therefore it is ORDERED AND
 4
     ADJUGED as follows:
 5
           All persons upon whom this order is served are hereby notified that the Court has
 6
     previously found that Rearden LLC is the sole owner of the MOVA brand name and
 7
     trademark, and that Rearden, XRSPACE and the Court have agreed that any use of MOVA
 8
     in connection with XRSPACE and its products or services is improper. This applies to use
 9
     of the MOVA name in all forms including, but not limited to, product and service branding
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     and labeling; trademark, service mark and trade name filings; Internet references, including
11
     but not limited to websites, search results, indexes, Wikis, biogs, archives, URLs, hyperlink
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     text, alt text, key words, advertising keywords, comments and source code; marketing and
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     sales materials; press materials, releases, briefings and publications; social media; images;
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     audio and video.
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16
           IT IS SO ORDERED.
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19   Dated: November 18, 2020
20                                                      HON. JON S. TIGAR

21                                                      DISTRICT COURT JUDGE

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     STIPULATION AND                                3                          CASE NO. 4:15-CV-00797-J ST(SK)
     [PROPOSED] ORDER
